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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                           CASE NO. 12-20071-CRIMINAL-SEITZ
    3

    4    UNITED STATES OF AMERICA,               Miami, Florida

    5                     Plaintiff,             May 10, 2012

    6               vs.                          1:58 p.m. to 2:12 p.m.

    7    FRANCISCO CUBERO,

    8                   Defendant.          Pages 1 to 15
         ______________________________________________________________
    9

   10                               CHANGE OF PLEA
                        BEFORE THE HONORABLE BARRY L. GARBER,
   11                       UNITED STATES MAGISTRATE JUDGE

   12

   13    APPEARANCES:

   14
         FOR THE GOVERNMENT:           VANESSA S. JOHANNES, ESQ.
   15                                  ASSISTANT UNITED STATES ATTORNEY
                                       99 Northeast Fourth Street
   16                                  Miami, Florida 33132

   17
         FOR THE DEFENDANT:            MANUEL GONZALEZ, JR., ESQ.
   18                                  2000 Ponce de Leon Boulevard
                                       Suite 614
   19                                  Coral Gables, Florida 33134

   20
         REPORTED BY:                  LISA EDWARDS, RDR, CRR
   21                                  Official Court Reporter
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    1               THE COURT:    Good afternoon.

    2               Be seated.

    3               THE COURTROOM DEPUTY:     Case No. 12-20071-

    4    Criminal-Seitz, United States versus Francisco Cubero.

    5               Counsel, please state your appearances, please, for

    6    the record.

    7               MS. JOHANNES:    Good afternoon, your Honor.

    8               Vanessa Johannes on behalf of the United States.

    9               With me at counsel table is Special Agent Timothy

   10    Devine with ICE.

   11               THE COURT:    Fine.   Thank you.

   12               Yes, sir.

   13               MR. GONZALEZ:    Good afternoon, your Honor.

   14               Manuel Gonzalez, Jr., on behalf of Francisco Cubero,

   15    who's present before the Court.

   16               THE COURT:    Counsel, would you and your client

   17    approach the podium, please.

   18               Would you announce into the record the purpose of your

   19    appearance here today.

   20               MR. GONZALEZ:    Your Honor, we are here for a change of

   21    plea.

   22               THE COURT:    I understand there's no plea agreement.

   23    Is that correct?

   24               MR. GONZALEZ:    That is correct, your Honor.       It will

   25    be a plea to the indictment.
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    1               THE COURT:    Would you place the Defendant under oath,

    2    please.

    3               THE COURTROOM DEPUTY:     Sure.

    4               (Whereupon, the Defendant was duly sworn.)

    5               THE COURT:    I want you to understand you have the

    6    right to have these proceedings before a United States district

    7    judge.

    8               I'm a United States magistrate judge, but I understand

    9    that you and the Government have agreed to proceed before me.

   10    Is that correct?

   11               THE DEFENDANT:    Yes, it is.

   12               THE COURT:    Is that correct, Government?

   13               MS. JOHANNES:    Yes, your Honor.     That's correct.

   14               THE COURT:    So you've been placed under oath.       That

   15    oath requires you to answer all questions truthfully.           Should

   16    you not do so, I want you to understand you could be prosecuted

   17    for perjury or making a false statement, either of which are

   18    very serious charges.

   19               Do you understand that?

   20               THE DEFENDANT:    Yes, I do.

   21               THE COURT:    I'm going to be asking a series of

   22    questions to you and, if you don't understand them, I want you

   23    to feel free to discuss it with your attorney or ask me about

   24    it and we'll attempt to explain it to you in a different

   25    manner.   All right?
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    1               THE DEFENDANT:    Yes.

    2               THE COURT:    Tell me your full name.

    3               THE DEFENDANT:    Francisco Matias Cubero.

    4               THE COURT:    And how old are you?

    5               THE DEFENDANT:    I'm 30 years old.

    6               THE COURT:    How far have you gone in school?

    7               THE DEFENDANT:    I did one year of college.

    8               THE COURT:    Have you been treated recently for any

    9    mental illness or addiction to any type of narcotic drugs?

   10               THE DEFENDANT:    I have not.

   11               THE COURT:    As you stand before the Court today, are

   12    you currently under the influence of any drug, medication or

   13    alcoholic beverage?

   14               THE DEFENDANT:    No.

   15               THE COURT:    Now, have you received a copy of the

   16    indictment setting forth the charges against you and have you

   17    had an opportunity to fully discuss those with your attorney?

   18               THE DEFENDANT:    Yes, I have.

   19               THE COURT:    Are you fully satisfied with the services

   20    that your attorney has rendered to you in this case?

   21               THE DEFENDANT:    Yes.

   22               THE COURT:    Now, has anyone attempted in any way to

   23    force you to plead guilty or otherwise threatened you?

   24               THE DEFENDANT:    No.

   25               THE COURT:    Has anyone made any promises or assurances
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    1    of any kind to get you to plead guilty?

    2                THE DEFENDANT:   No.

    3                THE COURT:   Are you pleading guilty of your own free

    4    will simply because you are guilty of those charges set forth

    5    in the indictment?

    6                THE DEFENDANT:   Yes.

    7                THE COURT:   Now, you understand that the offenses to

    8    which you are pleading guilty are very serious felonies and,

    9    upon adjudication of those felonies, you will be deprived of

   10    certain valuable rights, such as the right to vote, the right

   11    to hold public office, the right to serve on a jury and the

   12    right to possess any kind of firearm.        Those are the things

   13    that you would be losing as a result of being adjudged guilty

   14    of these felonies.

   15                Do you understand that?

   16                THE DEFENDANT:   Yes.

   17                THE COURT:   Have you discussed those with your

   18    attorney?

   19                THE DEFENDANT:   I have.

   20                THE COURT:   Now, are you a citizen of the United

   21    States?

   22                THE DEFENDANT:   Yes.

   23                THE COURT:   Now, the following penalties are present

   24    with regard to your pleas.

   25                These pleas are as to all three counts of the
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    1    indictment?

    2                MR. GONZALEZ:    Yes, your Honor.

    3                THE COURT:    All right.

    4                MS. JOHANNES:    Yes.

    5                THE COURT:    As to the possible sentence in Count 1,

    6    there's a statutory maximum term of imprisonment of up to

    7    20 years and a fine of up to $250,000 and a term of supervised

    8    release of up to three years.

    9                Counts 2 and 3 carry statutory maximum terms of --

   10    Count 2 carries a statutory maximum term of 20 years'

   11    imprisonment, supervised release of up to three years and a

   12    fine of $250,000.

   13                Count 3 carries a maximum term of imprisonment of

   14    10 years, supervised release of three years and a fine of up to

   15    $250,000.

   16                There's also a requirement for forfeiture in the

   17    indictment.

   18                Yes, sir.    Do you want to say --

   19                MR. GONZALEZ:    Judge, I think Count 2 carries a

   20    maximum of 10.

   21                THE COURT:    That's correct.   I realize that.     That has

   22    been corrected.

   23                MR. GONZALEZ:    And the supervised release -- I'm not

   24    sure if I heard right, but I thought it was a maximum up to

   25    five.
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    1               MS. JOHANNES:    That's correct, your Honor.       It's up to

    2    five.

    3               THE COURT:    Let me just correct this.      This was handed

    4    to me.   It's an error.

    5               Count 2 is a maximum of ten years and a fine --

    6    supervised release of up to five years.        Is that correct?

    7               MR. GONZALEZ:    Yes, your Honor.

    8               MS. JOHANNES:    Correct, your Honor.      The supervised

    9    release term of five years is for all counts.

   10               THE COURT:    All right.    Fine.

   11               Those changes are noted and made part of the record.

   12               Count 3 carries a maximum term of imprisonment of up

   13    to ten years, supervised release of up to five years and a fine

   14    of up to $250,000.

   15               As I've stated, there is a forfeiture requirement.          By

   16    pleading guilty, you are waiving your right to contest that

   17    forfeiture.

   18               Do you understand that?

   19               THE DEFENDANT:    Yes, I do.

   20               THE COURT:    Do you have any questions about the

   21    possible sentences in this case?

   22               THE DEFENDANT:    None.

   23               THE COURT:    Government?

   24               MS. JOHANNES:    Your Honor, I want the record to be

   25    clear that Count 1 carries a mandatory minimum of five years'
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    1    imprisonment.

    2                THE COURT:   Five years supervised release?

    3                MS. JOHANNES:    No.   Five years' imprisonment, a

    4    mandatory minimum.

    5                THE COURT:   This thing was given to me totally wrong.

    6                Count 1 carries five years?

    7                MS. JOHANNES:    That's correct.    Count for

    8    distribution.

    9                MR. GONZALEZ:    It's a minimum of five, up to 40.

   10                THE COURT:   Is that a minimum mandatory of five?

   11                MS. JOHANNES:    A mandatory minimum of five.

   12                THE COURT:   Count 1 has minimum mandatory term of

   13    imprisonment of five years with a possibility of going up to

   14    40 years.    All the remaining sections that I've cited are

   15    correct.

   16                Do you have any questions about the potential

   17    sentences in this case?

   18                THE DEFENDANT:   No.

   19                THE COURT:   Now, the Court, in determining the

   20    sentence, will utilize several factors, such as the advisory

   21    guideline ranges, the departures from those guidelines and

   22    other statutory factors.

   23                Have you and your attorney had an opportunity to

   24    discuss how the advisory guideline range may be utilized in

   25    your case?
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    1               THE DEFENDANT:    Yes.

    2               THE COURT:    Did you discuss that fully with him,

    3    counsel?

    4               MR. GONZALEZ:    Yes, sir.

    5               THE COURT:    You understand that?

    6               THE DEFENDANT:    Yes, I do.

    7               THE COURT:    And the Court will not be able to

    8    determine what your advisory guideline range is until a

    9    presentence report has been prepared by Probation and until you

   10    and/or the Government have the right to file such objections to

   11    it as you think appropriate, and the Court would then have to

   12    rule upon those objections.

   13               And the sentence ultimately imposed may be different

   14    from any estimate that your attorney may have given you.

   15               Do you understand that?

   16               THE DEFENDANT:    Yes, I do.

   17               THE COURT:    And once your advisory guideline range has

   18    been determined, the Court has the authority under certain

   19    circumstances to depart upward or downward from that guideline

   20    range and will consider other statutory sentencing factors that

   21    may result in the imposition of a sentence that is either

   22    greater or lesser than the advisory guideline range.

   23               Do you understand that?

   24               THE DEFENDANT:    Yes, I do.

   25               THE COURT:    And do you also understand that there's no
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    1    such thing as parole in the federal system any longer?

    2               THE DEFENDANT:     Yes, I do.

    3               THE COURT:    Now, you understand that, under certain

    4    circumstances, you or the Government may have the right to

    5    appeal any sentence that may be imposed in this case.

    6               Do you understand that, sir?

    7               THE DEFENDANT:     Yes.

    8               THE COURT:    Now, I mentioned supervised release.

    9    That's a program somewhat similar to being on probation.           And

   10    it requires you to meet regularly with a supervising officer

   11    and comply with his lawful orders and to refrain from any

   12    further violations of the law.

   13               Should you violate the conditions of your supervised

   14    release, under those circumstances then, you would be brought

   15    back before the Court and could face additional penalties.

   16               Do you understand that?

   17               THE DEFENDANT:     Yes, I do.

   18               THE COURT:    Do you understand all the possible

   19    consequences of your plea of guilty that we've discussed?

   20               THE DEFENDANT:     Yes.

   21               THE COURT:    Do you have any questions about any of

   22    them?

   23               THE DEFENDANT:     No.

   24               THE COURT:    Again, I'm going to ask a series of

   25    questions of you.     If you don't understand them, I want you to
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    1    feel free to ask your lawyer or ask me about them.

    2               Do you understand that you have the right to plead not

    3    guilty and to persist in that plea of not guilty, if you wish,

    4    and if you did so, then you'd have the right to a trial by

    5    jury?

    6               Upon entering into that trial, you would be presumed

    7    to be innocent of any criminal charges and that presumption of

    8    innocence would remain with you until such time as it's

    9    overcome by the Government's proof of your guilt beyond and to

   10    the exclusion of a reasonable doubt.

   11               Should you elect to go to trial, then you'd have the

   12    right to the assistance of an attorney, one appointed by the

   13    Court should you not be able to afford one.         The attorney would

   14    be with you at the trial and all other proceedings in this

   15    case.

   16               And at the trial, you'd have the right and opportunity

   17    to hear and see all witnesses that testify against you and have

   18    your attorney cross-examine those witnesses.

   19               And you'd have the right on your own part to decline

   20    to testify unless you voluntarily elected to do so.

   21               And if you went to trial, you'd have the right to

   22    compel the attendance of any witness that you wished to testify

   23    on your behalf.

   24               If you went to trial and should you decide at trial

   25    not to testify or offer a defense, those facts can in no way be
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    1    used against you.

    2               Now, do you further understand that, by entering your

    3    pleas of guilty of these three counts, upon acceptance of those

    4    pleas, there would be no trial and you will have waived or

    5    given up your right to a trial as well as those other rights

    6    that we've previously discussed?

    7               Do you understand that?

    8               THE DEFENDANT:     Yes, I do.

    9               THE COURT:    Any questions about it?

   10               THE DEFENDANT:     No.

   11               THE COURT:    Now, the nature of the charges to which

   12    you are pleading guilty are as follows:

   13               Briefly, Count 1 charges the Defendant on the date

   14    alleged in the indictment and in the Southern District of

   15    Florida did knowingly distribute visual depictions by use of

   16    interstate and foreign commerce, including by computer, and

   17    production of such visual depictions involving the use of a

   18    minor engaged in sexually explicit conduct, as defined in

   19    Title 18, United States Code, Section 22562, and such visual

   20    depiction was of such conduct, in violation of Title 18, United

   21    States Code, Section 2252(a)(2) and (b)(1)?

   22               Counts 2 and 3 charge you with possession of child

   23    pornography on a laptop in Count 2 and on a compact disc in

   24    Count 3, both counts in violation of Title 18, United States

   25    Code, Sections 2252(a)(4)(B) and (b)(2).
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    1               Those are the charges to which you are pleading

    2    guilty.    Do you understand that?

    3               THE DEFENDANT:     Yes.

    4               THE COURT:    All right, sir.     Do you have any questions

    5    about the charges whatsoever?

    6               THE DEFENDANT:     No.    None.

    7               THE COURT:    Now, upon your plea of guilty, the Court

    8    will order and does order a presentence report to be prepared

    9    for its use in determining the appropriate sentence in this

   10    case.

   11               Now, I'll ask you, sir, how do you plead now to the

   12    charges set forth in Counts 1, 2 and 3 of the indictment?

   13    Guilty or not guilty?

   14               THE DEFENDANT:     Guilty.

   15               THE COURT:    It is the finding of the Court in the case

   16    of the United States of America versus Francisco Cubero that

   17    the Defendant is fully competent and capable of entering an

   18    informed plea, that the Defendant is aware of the nature of the

   19    charges and the consequences of his pleas of guilty and that

   20    the pleas of guilty are knowing and voluntary pleas support by

   21    an independent basis in fact containing all of the material

   22    elements of the offenses.

   23               The plea is therefore accepted and the Defendant is

   24    now adjudged guilty of those offenses set forth in Counts 1, 2

   25    and 3 of the indictment.
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    1                As I indicated, a presentence report will be prepared

    2    for the Court's use along with other factors to determine the

    3    sentence.

    4                In order to prepare that presentence report, it is

    5    necessary for you and your attorney to meet with the Probation

    6    Office and furnish them with such information as they may need

    7    to prepare this report.

    8                At the time of sentencing, counsel and the Defendant

    9    may address the Court with regard to what you feel would be an

   10    appropriate sentence and to raise other such issues as you wish

   11    the Court to consider.

   12                Is the Government's recommendation that Mr. Cubero

   13    remain at liberty on bond previously posted?

   14                MS. JOHANNES:   That's fine, your Honor.      The same

   15    conditions may apply.

   16                THE COURT:   The Court will adopt that recommendation

   17    as an order.

   18                The Defendant is released on the bond and all

   19    conditions previously imposed.

   20                The date for sentencing has been set by Judge Seitz.

   21                What is that date?

   22                THE COURTROOM DEPUTY:     August 2nd at 8:30 in the

   23    morning.

   24                THE COURT:   In her courtroom in the Ferguson Building.

   25                Anything further?
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    1               MS. JOHANNES:    Your Honor, I just want the record to

    2    note that the Defendant did enter into a factual proffer and he

    3    signed that proffer.

    4               THE COURT:    All right.

    5               MR. GONZALEZ:    That is correct.

    6               THE COURT:    The factual proffer has been executed by

    7    all the parties?

    8               MR. GONZALEZ:    Yes, your Honor.

    9               THE COURT:    And you understand by that factual proffer

   10    you are agreeing that the facts set forth in there could be

   11    proven by the Government if the case went to trial, proven

   12    beyond a reasonable doubt.      Is that correct?

   13               THE DEFENDANT:     Yes.

   14               THE COURT:    Thank you.

   15               MR. GONZALEZ:    Thank you, your Honor.

   16               MS. JOHANNES:    Thank you.

   17               (Proceedings concluded.)

   18                            C E R T I F I C A T E

   19

   20                I hereby certify that the foregoing is an accurate

   21    transcription of the proceedings in the above-entitled matter.

   22

   23    ____________            /s/Lisa Edwards_____
             DATE                LISA EDWARDS, RDR, CRR
   24                            Official United States Court Reporter
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